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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.: 21-cv-60914-CIV-DIMITROULEAS/SNOW

    UMG Recordings, Inc.; Capitol Records,
    LLC; Universal Music Corp.; Universal
    Music – Z Tunes LLC; Universal Musica,
    Inc.; PolyGram Publishing, Inc.; Songs of
    Universal, Inc.; and Universal Music – MGB
    NA LLC,

              Plaintiffs,

    v.

    Vital Pharmaceuticals, Inc., d/b/a Bang
    Energy; and Jack Owoc, an individual,

          Defendants.
    ____________________________________



                                                   ORDER

          THIS CAUSE is before the Court upon the Suggestion of Bankruptcy [DE 285], filed

   herein on October 11, 2022. The Notice states that Defendant Vital Pharmaceuticals, Inc. has

   filed a voluntary petition in the United States Bankruptcy Court for the Southern District of

   Florida.

          Accordingly, it is ORDERED AND ADJUDGED as follows:

          1.         The above-styled action is hereby STAYED;

          2.         The Clerk is directed to ADMINISTRATIVELY CLOSE this case and DENY

                     AS MOOT any pending motions; and

          3.         Defendant Vital Pharmaceuticals, Inc. shall file a status report as to the status of

                     the bankruptcy proceedings on December 12, 2022, and every sixty (60) days

                     thereafter.

                                                       1
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          DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

   this 12th day of October, 2022.




   Copies furnished to:
   Counsel of Record




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